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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION,

             Plaintiff,

    v.                                         No. 24-cv-12817 BRM CI

BRIK ENTERPRISES, INCORPORATION,               Hon. Brandy R. McMillion
D/B/A CULVER’S OF CLARKSTON, DAVISON           Mag. Judge Curtis Ivy, Jr.
HOSPITALITY, INC., D/B/A CULVER’S OF
DAVISON, FENTON HOSPITALITY, INC.,
D/B/A CULVER’S OF FENTON, GB
HOSPITALITY INC., D/B/A CULVER’S OF
GRAND BLANC, BLUE WATER HOSPITALITY,
INC.,

             Defendants.

 DIANA E. MARIN (P81514)                COURTNEY L. NICHOLS (P75160)
 Trial Attorney                         Plunkett Cooney
 Detroit Field Of ice                   Attorneys for Defendants
 EEOC                                   38505 Woodward Ave., Suite 100
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 Diana.marin@eeoc.gov                   gamesse@plunkettcooney.com (asst)


    ANSWER TO PLAINTIFF’S COMPLAINT, AFFIRMATIVE DEFENSES AND
                    RELIANCE ON JURY DEMAND




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         NOW COME the above-named Defendants, by and through their

Attorneys, Plunkett Cooney, and in Answer to Plaintiff’s Complaint, state as

follows:

                          JURISDICTION AND VENUE

             1.   Defendants admit the allegations set forth in paragraph 1 of

the Complaint.

             2.   Defendants deny that they committed any unlawful

employment practices, as alleged in paragraph 2 of the Complaint, but admit

that this Court is an appropriate venue for this action.

                                    PARTIES

             3.   Defendants admit the allegations set forth in paragraph 3 of

the Complaint.

             4.   Defendants admit the allegations set forth in paragraph 4 of

the Complaint.

             5.   Defendants admit the allegations set forth in paragraph 5 of

the Complaint.

             6.   Defendants admit the allegations set forth in paragraph 6 of

the Complaint.

             7.   Defendants admit that Culver’s of Davison has been an

“employer” for purposes of Title VII but deny that it was the employer of any

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individuals affected by the allegedly unlawful employment practices asserted in

the Complaint.

             8.    Defendants admit the allegations set forth in paragraph 8 of

the Complaint.

             9.    Defendants admit that Culver’s of Fenton has been an

“employer” for purposes of Title VII but deny that it was the employer of any

individuals affected by the allegedly unlawful employment practices asserted in

the Complaint.

             10.   Defendants admit the allegations set forth in paragraph 10 of

the Complaint.

             11.   Defendants admit that Culver’s of Grand Blanc has been an

“employer” for purposes of Title VII but deny that it was the employer of any

individuals affected by the allegedly unlawful employment practices asserted in

the Complaint.

             12.   Defendants admit the allegations set forth in paragraph 12 of

the Complaint.

             13.   Defendants admit that Blue Water Hospitality, Inc. has been

an “employer” for purposes of Title VII but deny that it was the employer of any

individuals affected by the allegedly unlawful employment practices asserted in

the Complaint.

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             14.   Defendants deny that they have operated as a single

employer or integrated enterprise because the assertion is untrue.

                   a. Defendants admit the allegations set forth in paragraph

                        14(a) of the Complaint.

                   b. Defendants admit the allegations set forth in paragraph

                        14(b) of the Complaint.

                   c. Defendants deny the allegations set forth in paragraph

                        14(c) of the Complaint because they are untrue.

                   d. Defendants admit the allegations set forth in paragraph

                        14(d) of the Complaint.

                   e. Defendants deny the allegations set forth in paragraph

                        14(e) of the Complaint because they are untrue.

                   f.   Defendants deny the allegations set forth in paragraph

                        14(f) of the Complaint because they are untrue.

                   g. Defendants lack knowledge or information suf icient to

                        form a belief about the truth of the allegations set forth in

                        paragraph 14(g) of the Complaint and therefore deny the

                        same.

                   h. Defendants admit the allegations set forth in paragraph

                        14(h) of the Complaint.

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                       ADMINISTRATIVE PROCEDURES

             15.   Defendants admit that Asher Lucas iled a charge with the

EEOC alleging violations of Title VII but deny any implication that the Charge

named all the Defendants to this action, and further deny that any actionable

violations of Title VII occurred.

             16.   Defendants admit that EEOC issued a Letter of Determination

 inding probable cause but deny that EEOC invited all the Defendants to join in

conciliation, and further deny that any actionable violations of Title VII

occurred.

             17.   Defendants admit that EEOC engaged in communications

with Defendant Brik Enterprises (“Culver’s Clarkson”) but deny that EEOC

engaged in such communications with the other Defendants because that is not

true.

             18.   Defendants admit that EEOC issued a Notice of Failure of

Conciliation but deny any implication that all Defendants were involved in

conciliation and/or that they are a single/joint employer under applicable legal

standards.

             19.   Defendants deny the allegations set forth in paragraph 19 of

the Complaint because they are untrue.



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                           STATEMENT OF CLAIMS

             20.   Defendants deny the allegations set forth in paragraph 20 of

the Complaint because they are untrue.

                   a.   On information and belief, Defendants admit that

                        Lucas is a transgender man who uses male pronouns.

                   b.   Defendants admit the allegations set forth in paragraph

                        20(b) of the Complaint.

                   c.   Defendants admit the allegations set forth in paragraph

                        20(c) of the Complaint.

                   d.   Defendants lack knowledge or information suf icient to

                        form a belief about the truth of the allegations set forth

                        in paragraph 20(d) of the Complaint and therefore

                        deny the same.

                   e.   Defendants lack knowledge or information suf icient to

                        form a belief about the truth of the allegations set forth

                        in paragraph 20(e) of the Complaint and therefore

                        deny the same.

                   f.   Defendants deny the allegations set forth in paragraph

                        20(f) of the Complaint because they are untrue.



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                 g.    Defendants lack knowledge or information suf icient to

                       form a belief about the truth of the allegations set forth

                       in paragraph 20(g) of the Complaint and therefore

                       deny the same.

                 h.    Defendants lack knowledge or information suf icient to

                       form a belief about the truth of the allegations set forth

                       in paragraph 20(h) of the Complaint and therefore

                       deny the same.

                 i.    Defendants lack knowledge or information suf icient to

                       form a belief about the truth of the allegations set forth

                       in paragraph 20(i) of the Complaint and therefore deny

                       the same.

                 j.    Defendants deny the allegations set forth in paragraph

                       20(j) of the Complaint because they are untrue.

                 k.    Defendants deny the allegations set forth in paragraph

                       20(k) of the Complaint because they are untrue.

                 l.    Defendants lack knowledge or information suf icient to

                       form a belief about the truth of the allegations set forth

                       in paragraph 20(l) of the Complaint and therefore deny

                       the same.

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                 m.    Defendants lack knowledge or information suf icient to

                       form a belief about the truth of the allegations set forth

                       in paragraph 20(m) of the Complaint and therefore

                       deny the same.

                 n.    Defendants admit the allegations set forth in paragraph

                       20(n) of the Complaint.

                 o.    Defendants lack knowledge or information suf icient to

                       form a belief about the truth of the allegations set forth

                       in paragraph 20(o) of the Complaint and therefore

                       deny the same.

                 p.    Defendants lack knowledge or information suf icient to

                       form a belief about the truth of the allegations set forth

                       in paragraph 20(p) of the Complaint and therefore

                       deny the same.

                 q.    Defendants lack knowledge or information suf icient to

                       form a belief about the truth of the allegations set forth

                       in paragraph 20(q) of the Complaint and therefore

                       deny the same.

                 r.    Defendants lack knowledge or information suf icient to

                       form a belief about the truth of the allegations set forth

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                       in paragraph 20(r) of the Complaint and therefore

                       deny the same.

                 s.    Defendants lack knowledge or information suf icient to

                       form a belief about the truth of the allegations set forth

                       in paragraph 20(s) of the Complaint and therefore

                       deny the same.

                 t.    Defendants lack knowledge or information suf icient to

                       form a belief about the truth of the allegations set forth

                       in paragraph 20(t) of the Complaint and therefore deny

                       the same.

                 u.    Defendants lack knowledge or information suf icient to

                       form a belief about the truth of the allegations set forth

                       in paragraph 20(u) of the Complaint and therefore

                       deny the same.

                 v.    Defendants lack knowledge or information suf icient to

                       form a belief about the truth of the allegations set forth

                       in paragraph 20(v) of the Complaint and therefore

                       deny the same.

                 w.    Defendants lack knowledge or information suf icient to

                       form a belief about the truth of the allegations set forth

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                       in paragraph 20(w) of the Complaint and therefore

                       deny the same.

                 x.    Defendants lack knowledge or information suf icient to

                       form a belief about the truth of the allegations set forth

                       in paragraph 20(x) of the Complaint and therefore

                       deny the same.

                 y.    Defendants admit the allegations set forth in paragraph

                       20(y) of the Complaint.

                 z.    Defendants lack knowledge or information suf icient to

                       form a belief about the truth of the allegations set forth

                       in paragraph 20(z) of the Complaint and therefore

                       deny the same.

                 aa.   Defendants deny the allegations set forth in paragraph

                       20(aa) of the Complaint because they are untrue.

                 bb.   Defendants lack knowledge or information suf icient to

                       form a belief about the truth of the allegations set forth

                       in paragraph 20(bb) of the Complaint and therefore

                       deny the same.

                 cc.   Defendants lack knowledge or information suf icient to

                       form a belief about the truth of the allegations set forth

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                         in paragraph 20(cc) of the Complaint and therefore

                         deny the same.

                   dd.   Defendants admit the allegations set forth in paragraph

                         20(dd) of the Complaint.

                   ee.   Defendants deny the allegations set forth in paragraph

                         20(ee) of the Complaint because they are untrue.

                   ff.   Defendants deny the allegations set forth in paragraph

                         20(ff) of the Complaint because they are untrue.

                   gg.   Defendants deny the allegations set forth in paragraph

                         20(gg) of the Complaint because they are untrue.

                   hh.   Defendants deny the allegations set forth in paragraph

                         20(hh) of the Complaint because they are untrue.

             21.   Defendants deny the allegations set forth in paragraph 21 of

the Complaint because they are untrue.

             22.   Defendants deny the allegations set forth in paragraph 22 of

the Complaint because they are untrue.

             23.   Defendants deny the allegations set forth in paragraph 23 of

the Complaint because they are untrue.

             24.   Defendants deny the allegations set forth in paragraph 24 of

the Complaint because they are untrue.

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               25.   Defendants deny the allegations set forth in paragraph 25 of

the Complaint because they are untrue.

               WHEREFORE, Defendants request that the Court deny all forms of

relief sought by Plaintiff and pray for a Judgment of No Cause for Action

together with costs and attorney’s fees so wrongfully sustained in defending

this litigation.

                                                Respectfully submitted,

                                                PLUNKETT COONEY

                                     BY:        /s/Courtney L. Nichols
                                                COURTNEY L. NICHOLS (P75160)
                                                Attorneys for Defendants
                                                38505 Woodward Avenue, Suite 100
                                                Bloomfield Hills, MI 48304
                                                (248) 594-6360
                                                cnichols@plunkettcooney.com


                            AFFIRMATIVE DEFENSES

         NOW COME the above-named Defendants, by and through Attorneys,

Plunkett Cooney, and submit the following Af irmative Defenses which may be

relied upon at the time of trial of this matter:

               1.    The Complaint may fail to state a claim upon which relief can

be granted, entitling one or more Defendants to judgment as a matter of law

and/or fact.


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             2.   Plaintiff’s claims may be barred by the statute of limitations.

             3.   Plaintiff’s claims are barred to the extent it failed to exhaust

administrative remedies.

             4.   Plaintiff’s claims are barred by the failure to name all

employers or other defendants in the underlying administrative charge.

             5.   Plaintiff’s claims are barred to the extent that one or more

Defendants did not employ the Charging Party.

             6.   Plaintiff’s claims fail because the Defendants acted at all

times within the bounds of good faith and for lawful, legitimate, non-

discriminatory, and non-retaliatory business reasons.

             7.   Plaintiff’s claims fail because the Charging Party was not

discriminated against because of sex or his membership in any other protected

class.

             8.   Plaintiff’s claims fail because the Charging Party was not

retaliated against for engaging in any conduct protected by Title VII or any other

applicable law.

             9.   Plaintiff’s claims are barred to the extent the same actions

with respect to the Charging Party’s employment would have occurred

regardless of sex, any other protected characteristic, and/or protected activity.



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             10.   Plaintiff’s claims may be barred by the after-acquired

evidence doctrine.

             11.   Plaintiff’s claims may be barred for spoliation of evidence.

             12.   Plaintiff’s claims may be barred by the doctrine of unclean

hands.

             13.   Plaintiff’s claims may be barred based on the intervening acts

of a non-party.

             14.   Plaintiff’s claims and/or the relief it seeks may be barred by

the failure to mitigate damages.

             15.   Discovery has yet to begin, and the Defendants reserve the

right to amend their answers and/or these af irmative and other defenses.

                                              Respectfully submitted,

                                              PLUNKETT COONEY

                                   BY:        /s/Courtney L. Nichols
                                              COURTNEY L. NICHOLS (P75160)
                                              Attorneys for Defendants
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                         RELIANCE ON JURY DEMAND

         NOW COMES the above-named Defendants, by and through Attorneys,

PLUNKETT COONEY, and hereby rely on the jury demand as filed by Plaintiff on

or about October 25, 2024.

                                               Respectfully submitted,

                                               PLUNKETT COONEY

                                    BY:        /s/Courtney L. Nichols
                                               COURTNEY L. NICHOLS (P75160)
                                               Attorneys for Defendants
                                               38505 Woodward Avenue, Suite 100
                                               Bloomfield Hills, MI 48304
                                               (248) 594-6360
                                               cnichols@plunkettcooney.com


                                PROOF OF SERVICE
                The undersigned certi ies that on December 16,
                2024 a copy of the foregoing document was served
                upon the attorney(s) of record in this matter at their
                stated business address as disclosed by the records
                herein via:
                    Hand delivery                   Overnight mail
                    U.S. Mail                       Facsimile
                    Email                           Electronic e- ile
                I declare under the penalty of perjury that the
                foregoing statement is true to the best of my
                information, knowledge and belief.

                                   /s/Gina Amesse
                                      Gina Amesse


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